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IN THE UNI'I`ED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

DONALD D. PARKELL,

Plaintiff,
v. Civ. No. 15-718-LPS
RONALD FREDERICK, et al., :
Defendants.

 

Donald D. Parke]l, _]ames T. Vaughn Center, Smyrna, Delaware, Pro Se Plaintiff.

Devera Breeding Scott, Deputy Attorney General Deputy, Delaware Department of Jusu`ce,
Wi]mington, Delaware. Counsel for Defendants.

MEMORANDUM OPINION

March 19, 2018
Wilmington, Delaware

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MR %
ST U.S. Dis ct ]udge:

I. INTRODUCTION

Plaintiff Donald Parkell (“Plaintiff”), an inmate at the ]ames T. Vaughn Correct:ional Center
in Smyrna, Delaware, filed this action pursuant to 42 U.S.C. § 1983. I-le appears pro re and has been
granted leave to proceed inj?)mapazq>erir. (D.I. 8, 11) He filed this action pursuant to 42 U.S.C.
§ 1983l and the Re]igious Land Use and Insu`tutionalized Persons Act of 2000 (“RLUIPA”), 42
U.S.C. § 2000cc et seq. (D.I. 3) The amended complaint, filed on December 22, 2015, is the
operative pleading. (D.I. 17) The Court has jurisdiction by reason of a federal question pursuant to
28 U.S.C. § 1331. Presently before the Court are Defendants’ motion for summary judgment,
Plaintiff’s motion to compel, and Plaintiff’s request for counsel (D.l. 30, 39, 40) The motion for
summary judgment is unopposed, Plaintiff having been given one final extension of time to respond
(until September 7, 2017), and failing to do so. (.S`ee D.I. 35)
II. BACKGROUND

This matter proceeds on two claims: an excessive force claim under the Eighth Amendment
and religion claims under the First Amendment and RLUIPA. (J`ee D.I. 18, 19) The amended
complaint alleges that on June 23, 2015, Plaintiff asked Defendant Sergeant Ronald Frederick
(“Frederick”) a question about legal mail, to Which Frederick responded by yelling at Plaintiff and, in
a fit of rage, spraying Plaintiff With Vexor (a commercial pepper spray) all over Plaintiff’s face, chest,
and arms, until Plaintiff Was completely covered in the chemical Plaintiff Was then handcuffed, seen
by a nurse, taken to a holding cell, and transferred to building 18. The amended complaint also

alleges that Defendant Chaplain Dr. Gus Christo (“Christo”) violated Plaintiff’s right to practice his

 

1\When bringing a § 1983 claim, a plaintiff must allege that some person has deprived him of a
federal right, and that the person Who caused the deprivation acted under color of state law. .S`ee
We.rl r). At)éz`m, 487 U.S. 42, 48 (1988).

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religion under the First Amendment and RLUIPA because he: (1) did not allow Plaintiff to be
recognized as ]ewish; (2) does not allow communal services or worship in building 21; and

(3) refuses to provide any religious instruction or assistance in building 21. Plaintiff alleges that the
Delaware Department of Correction (“DOC”) will not allow him to practice ]udaism and that he is
well-known by other inmates as a ]ewish faith adherent.

Excessive Force Claim. Plaintiff testified that he brought suit against Frederick because
Frederick abused his authority and sprayed Plaintiff with mace “just because he wanted to.” (D.I.
31-1 at D9) On ]une 23, 2015, Plaintiff was housed in B-Building (a medium security housing unit).
Frederick was` sitting in the sergeant’s oche, which is very small and has one entrance. (Id. at D15,
D56-62) According to Frederick, two other officers were in the office behind the door and
Frederick. (Ia’. at D56-62) As Plaintiff walked past the sergeant’s office on his way to the
medication call, he stopped, entered the office, and asked Frederick if he had any legal mail. (Id. at
D13-16, D56-62) Frederick told Plaintiff to go get his medication (Id. at Dl4) Plaintiff testiHed
that when he asked Frederick for his mail, Frederick “just snapped,” “got very angry,” and cursed at
Plaintiff. (Id.) According to Plaintiff, after he told Frederick there was no need to cuss at him,
F'rederick pulled out his mace and sprayed Plaintiff. (Ia’. at D16) Plaintiff testified that he told
Frederick not to spray him, but he maced him anyway. (Ia'. at Dl 8) Plaintiff testified that Frederick
emptied the can on him. (Id. at Dl9) Plaintiff testified that in no way was he resisting at a]l. (Ia’. at
D.I. 21)

According to Frederick, he told Plaintiff that it was not time for mail ca]l, and he ordered
Plaintiff to continue on to the medication pass room for his medication. (Id. at D56-62) Plaintiff
did not follow Frederick’s order and, according to Frederick, began acting stranger and aggressively,
balling his fists and bouncing around as if he wanted to box Frederick. (Id.) Also according to

Frederick, when Plaintiff did not follow one or two additional orders to proceed to the medication

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pass room, Frederick stood up and ordered Plaintiff to return to the tier and lock in his cell. (Id.)
According to Fredei;ick, it was at the point, when Plaintiff failed to obey that order and maintained a
fighting posture, that he sprayed Plaintiff with Vexor. (Id.) Frederick denies cursi.ng, shouting, or
rushing at Plaintiff and denies that Plaintiff told Frederick not to spray him. (Id.)

Frederick handcuffed Plaintiff and placed him in a closet that had a screened window until
Other officers arrived to escort Plaintiff to the infirmary. (Ia'. at D18-19, D56-62) Plaintiff testified
that he had no problems after June 23, 2015, as a result of the Vexor exposure, just slight burning of
the skin. (Id. at D27)

Plaintiff was disciplined for the june 23, 2015 incident (Ia’.) He was charged with
demonstrating a sttike, failure to obey an order, and disorderly and threatening behavior, found
guilty, and sanctioned (Id. at D28, D61) Plaintiff seeks compensatory and punitive damages from
Frederick. (Id. at D45)

Religion Claims. Plaintiff has identified as Jewish since 2012. (Id. at D32) In August
2015, christo was hired by the Doc as a chaplain assigned at ahs vcc. (D.I. 31-1 as D63-64)
Christo was trained at another location and began working at the VCC in November 2015. (Id.)
Christo was added as a defendant in the amended complaint, Hled in December 2015. (D.I. 17) As
the VCC chaplain, Ch_risto is responsible for planning and coordinating inmate religious services
(Id. at D63)

According to Christo, during the relevant time-frame, he had no contact in person, in
writing, or otherwise with Plaintiff. (D.I. 31-1 at D63-64) According to Christo, he was not
personally involved in making any decisions regarding Plaintist requests for religious services and

instruction, or his request to be identified as ]ewish. (Id.) Plaintiff testified that he named Christo as

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a defendant because Christo was the chaplain and Plaintiff wanted this case to proceed as a class
action.1 (Id. at DS)

During his deposition, Plaintiff testified that he had never met Christo but had corresponded
with him. (Id.) Plaintiff testified that Christo prevented him from practicing his religion because
there are no communal services (such as a Sabbath service) or religious instruction (such as a
Hebrew course), and he is looking for some kind of religious experience to pursue. (Id. at D39-40)
I-ie believes that because Christo is the head of all religious services, Ch.risto was the decisionmaker
on the issue of communal services. (Ia’. at D39) Plaintiff testified that he wrote to Christo about
communal services and was told “they just don’t do that,” while Christo states that he had no
contact with Plaintiff in writing, in person, or by any other means. (Ia'. at D41, D64) Since filing the
complaint, Plaintiff has had no communication with Christo. (Id. at D42)

Exhaustion. Plaintiff testified that he filed one grievance regarding the June 23, 2015
incident with Frederick, and was told that it was not grievable. (Id. at D45) He testiEed that he filed
grievances regarding his claims with Christo and the results were “nongi:ievable.” (Id. at D46-47)
The affidavit of Cpl. Matthew Dutton (“Dutton”) states that he searched the grievances submitted
by Plaintiff from June 23, 2015 to December 22, 2015 in connection with this lawsuit. (Id. at D65)
Duri.ng Dutton’s search he found that Plaintiff had filed many grievances, but did not lind any
grievances in connection with the _lune 23, 2015 incident, grievances related to Plaintist religion, or
grievances concerning Christo. (Id. at D66)

III. MOTION TO COMPEL
Plaintiff moves to compel Defendants to respond to discovery requests. (D.I. 39) Plaintiff

states that Defendants refuse to provide a list of inmates housed in B-Building on ]une 23, 2015;

 

' Plaintist mouon for class certification was denied on October 27, 2015. (D.I. 15)
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documents regarding Prederick’s use of force, grievances involving Frederick; and documents
regarding security cameras in B-Building.

Pursuant to Fed. R. Civ. P. 26, “[p]arties may obtain discovery regarding any nonprivileged
matter that is relevant to any party’s claim or defense and proportional to the needs of the case,
considering the importance of the issues at stake in the action, the amount in controversy, the
parties’ relative access to relevant information, the parties’ resources, the importance of the
discovery in resolving the issues, and whether the burden or expense of the proposed discovery
outweighs its likely beneEt. Information within this scope of discovery need not be admissible in
evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1).

The Court has reviewed Defendants’ responses to Plaintiff’s discovery requests Defendants
have either responded to the discovery requests or objected on the basis of privilege under Delaware
law. The objections are sustained and, to the extent Defendants responded, the answers are
adequate. Therefore, the Court will deny the motion to compel. (D.I. 39)

IV. REQUEST FOR COUNSEL

Plaintiff seeks counsel on the grounds that Defendants have asserted privilege in discovery
and rehise to produce vital documents (D.I. 40). Plaintiff states that “without access to these
documents, there is no feasible way that I do not become prejudiced unfairly.” (Id.)

A pro .re litigant proceeding info)mapmq)m'.t has no constitutional or statutory right to
representation by counsel. .S`ee Bngbhve/l 1). Le/)man, 637 F.3d 187, 192 (3d Cir. 2011); Tabro)z z). Grace,
6 F.3d 147, 153 (3d Cir. 1993). However, representation by counsel may be appropriate under
certain circumstances, after a finding that a plaintist claim has arguable merit in fact and law.2 See

Tabmn, 6 F.3d at 155.

 

Z.S`ee Mal/ard 1). Um'ted .S`tate.t Dz`.tt. Ccmn‘for t/)e 5`. Dz`.ft. ¢y“Iozz/a, 490 U.S. 296 (1989) (§ 1915(d) -- now
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The Court determines that it is appropriate to encourage legal representation for Plaintiff by
an attorney in this case. Therefore, his request for counsel will be granted. (D.I. 40)
V. MOTION FOR SUMMARY ]UDGMENT

A. Legal Standards

Under Rule 56(a) of the F ederal Rules of Civil Procedure, “[t]he court shall grant summary
judgment if the movant shows that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” The moving party bears the burden of
demonstrating the absence of a genuine issue of material fact. See Maiiu_t/)z`ta E/ec. Indu.r. Co., L)‘a'. 1).
Zem'i/) Radz`o Co)p., 475 U.S. 574, 585-86 (1986). An assertion that a fact cannot be -- or, alternatively,
is -- genuinely disputed must be supported either by “citing to particular parts of materials in the
record, including depositions, documents, electronically stored information, affidavits or
declarations, stipulations (including those made for purposes of the motion only), admissions,
interrogatory answers, or other materials,” or by “showing that the materials cited do not establish
the absence or presence of a genuine dispute, or that an adverse party cannot produce admissible
evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A) & (B). If the moving party has carried its
burden, the nonmovant must then “come forward with specific facts showing that there is a genuine
issue for trial.” Mqt.ru.r/)z'ia, 475 U.S. at 587 (internal quotation marks omitted). The Court will “draw
all reasonable inferences in favor of the nonmoving party, and it may not make credibility
determinations or weigh the evidence.” Reez)e: 1). .S`andermn P/umbz`ug Prod.t, Inc., 530 U.S. 133, 150
(2000).

To defeat a motion for summary judgment, the nonmoving party must “do more than

simply show that there is some metaphysical doubt as to the material facts.” Maz‘.rus/)z`ia, 475 U.S. at

 

§ 1915(6) (1) -- does not authorize federal court to require unwilling attorney to represent indigent
civil litigant, the operative word in the statute being “request”).

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586; see also Podobm`,(=. 1). U.S. Porta/ Sen)., 409 F.3d 584, 594 (3d Cir. 2005) (stating party opposing
summary judgment “must present more than just bare assertions, conclusory allegations or
suspicions to show the existence of a genuine issue”) (internal quotation marks omitted). The “mere
existence of some alleged factual dispute between the parties will not defeat an otherwise properly
supported motion for summary judgment;” a factual dispute is genuine only where “the evidence is
such that a reasonable jury could return a verdict for the nonmoving party.” Ander.ron z). Lz`berg/
Lob@y, Im'., 477 U.S. 242, 247-48 (1986). “If the evidence is merely colorable, or is not significantly
probative, summary judgment may be granted.” Id. at 249-50 (internal citations omitted); see aka
Ce/atex Co)j). 1). Calrez‘z‘, 477 U.S. 317, 322 (1986) (stating entry of summary judgment is mandated
“against a party who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of proof at trial”). Thus,
the “mere existence of a scintilla of evidence” in support of the nonmoving party’s position is
insufficient to defeat a motion for summary judgment; there must be “evidence on which the jury
could reasonably Hnd” for the nonmoving party. Auder.mn, 477 U.S. at 252.

Plaintiff did not file a response to Defendants’ motion, despite being given additional time to
do so. Regardless, the Court will not grant the entry of summary judgment without considering the
merits of Defendants’ unopposed motion. See jiackhoz/.re a Maqurkz`eu/z`cz, 951 F.2d 29, 30 (3d Cir.
1991) (holding that district court should not have granted summary judgment solely on basis that
motion for summary judgment “was not opposed”).

B. Discussion

1. Eleventh Amendment Immunity

Defendants seek summary judgment based upon immunity from suit on § 1983 claims raised

against them which seek monetary damages in their official capacities and on the RLUIPA claims for

monetary damages against Christo in his individual and official capacities

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To the extent Defendants are named in their ofiicial capacities, they are immune from suit.
The Eleventh Amendment of the United States Constitution protects an unconsenting state or state
agency from a suit brought in federal court by one of its own citizens, regardless of the relief sought.
See .S`emz'nole Tn'be of F/a. v. F/on`a'a, 517 U.S. 44, 54 (1996); Penn/)urrt fruits .S`cb. €3“ Hoip. a Hal'demzan,
465 U.S. 89 (1984); Edelman 1). jordan, 415 U.S. 651 (1974). “[A] a suit against a state official in his or
her ochial capacity is not a suit against the official but rather is a suit against the ofEcial’s oche. As
such, it is no different from a suit against the State itself.” W'z`l/ 1). Michzgan qu't quiafe Polz`ce, 491
U.S. 58, 71 (1989) (internal citations omitted);A/z` 1). Howara’, 353 F. App'x 667, 672 (3d Cir. Nov. 16,
2009). Any § 1983 claims for monetary damages against Defendants in their official capacities are
barred by the Eleventh Amendment. See id.

In addition, Plaintiff cannot maintain a R_LUIPA action for monetary damages against
Christo in his individual or official capacities RLUIPA does not permit actions for damages against
state officials in their individual capacities, m .S`barp 1). john.mn, 669 F.3d 144, 1534 (3d Cir. 2012), or
in their official capacities by reason of Eleventh Ainendment immunity, rec Sos.ramon 1). Texa.r, 563
U.S. 277, 293 (2011). Sovereign immunity thus bars any claims for damages against Christo. The
only relief potentially available under RLUIPA is injunctive or declaratory relief, which Plaintiff
indicates he seeks against Christo. .$`ee P¢ywe 1). Doe, 636 F. App’x 120, 125 (3d Cir. Jan. 12, 2016).

'l`herefore, the Court will grant Defendant’s motion for summary judgment on issue of
Eleventh Amendment immunity

2. Excessive Force

Plaintiff claims that he was subjected to excessive force when Frederick used Vexor on him.

Frederick contends that he has qualified immunity because Plaintiff failed to establish a violation of

his rights under the Eighth Amendment.

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The doctrine of qualified immunity shields government ofncials from civil liability for
constitutional violations if “their actions could reasonably have been thought consistent with the
rights they are alleged to have violated.” Ander.ron 1). Crez;g/Jton, 483 U.S. 635, 638 (1987). In
considering whether qualified immunity attaches, courts perform a two-pronged analysis to
determine: (1) “whether the facts that [the] plaintiff has alleged . . . make out a violation of a
constitutional right,” and (2) “whether the right at issue was ‘clearly established’ at the time of [the]
defendant’s alleged misconduct.” Pear.ton 1). Ca//a/)an, 555 U.S. 223, 232 (2009). The Court examines
whether the alleged conduct, taken in the light most favorable to Plaintiff, violated a consn'tutional
right See Sazm`er 1). Kata;, 533 U.S. 194, 201 (2001). “If no constitutional right would have been
violated were the allegations established, there is no necessity for further inquiries concerning
qualified immunity.” Id. If the allegations amount to the violation of a constitutional right, the
Court proceeds to the second inquiry and determines if the right was “clearly established in the
specific context of the case.” Bro.r.reau 1). Hazgen, 543 U.S. 194, 198 (2004); Sazm'er, 533 U.S. at 202
(noting that officer is entitled to qualified immunity unless “it would be clear to a reasonable officer
that his conduct was unlawful inthe situation he confronted”).

As will be discussed, there remain genuine issues of material fact as to whether Frederick
was deliberately indifferent to Plaintiff s risk of harm and, thus, violated Plaintiff’s constitutional
rights. When comparing Plaintist deposition testimony to Defendant’s affidavit and the incident
report that there are disputed facts surrounding the events of ]une 23, 2015 and the use of Vexor.
As to the second prong, the constitutional prohibition against excessive use of force has been clearly
established.

The core judicial inquiry when a prisoner alleges that prison officers used excessive force is
whether force was applied in a good-faith effort to maintain or restore discipline, or instead was

used maliciously and sadistically to cause harm. .$`ee W'z`/kz'm 1). Gad@y, 559 U.S. 34 (2010). Courts

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look to several factors, including: (1) the need for the application of force; (2) the relationship
between the need and the amount of force that was used; (3) the extent of the injury inflicted; (4) the
extent of the threat to the safety of staff and inmates, as reasonably perceived by prison officials; and
(5) any efforts made to temper the severity of a forceful response. fee Hud.ron 1). McMi//z`an, 503 U.S.
1, 6 (1992); see also Yozmg 1). Man‘z'r), 801 F.3d 172, 177 (3d Cir. 2015).

Plaintiff does not have to demonstrate serious injury, although the extent of injuries suffered
is a factor in determining whether the use of force was necessary or not. Fee Hud.mn, 503 U.S. at 7;
see alto Bmok..r 1). Ky/er, 204 F.3d 102, 104 (3d Cir. 2000) (holding there is no fixed minimum quantum
of injury that prisoner must prove he suffered through either objective or independent evidence in
order to state claim for excessive force). The use of force may constitute cruel and unusual
punishment even if the prisoner does not sustain “significant” injuries. fee szd.m)z, 503 U.S. at 9;
Brook.r, 204 F.3d at 106 (even de minimis use of force, if repugnant to the conscience of mankind,
may be constitutionally signiicant).

l-Iere, there is a genuine factual dispute as to whether Plaintiff disobeyed orders. Defendants
state that Plaintiff did not respond to orders to proceed to the area to receive his medication, while
Plaintiff states that when he said to Frederick there was no need to cuss at him, Frederick jumped up
from his desk and sprayed him. The Court is mindful that Plaintiff was found guilty Of the
disciplinary charges resulting from the occurrence, but this (while perhaps probative evidence) does
not eliminate the genuine factual dispute. Further, assessing the credibility of the parties Will be a
matter for the factfinder Fina]ly, Plaintiff testified that Frederick emptied the can of Vexor when he
sprayed Plaintiff, that his face was burning, and that it was burning all over his body. As even a
minimal use of force and a de minimir injury could, under the totality of circumstances, give rise to a

constitutional violation, see Hud.rou, 503 U.S. at 9; Brook.t, 204 F.3d at 106, a reasonable factfinder

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drawing all reasonable inferences in Plaintiff’s favor could End that Plaintiff has met his burden on
the Erst prong of his claim.

In short, the record reveals genuine issues of material fact as to whether the force was
applied in a good faith effort to maintain or restore discipline, or instead was applied maliciously and
sadistically to a compliant inmate to cause harm in violation of the Eighth Amendment. Plaintiff
had a clearly-established right to be free of cruel and unusual punishment. Accordingly, the Court
will deny Defendants’ motion for summary judgment on the issues of qualified immunity and
whether the force used by Frederick violated the Eighth Amendment.

3. Religion: First Amendment,
42 U.S. § 1983 and RLUIPA

Plaintiff raises his religion claims under the First Amendment pursuant to 42 U.S.C. § 1983
and RLUIPA. Plaintiff, who practices _]udaism, alleges that Christo prevented him from practicing
his religion because there are no communal services or religious instructions Defendants seek
summary judgment on behalf of Christo on the grounds that there is no evidence he was personally
involved in the alleged deprivation of Plaintist rights

Prisoners have a First Amendment right to practice their religion. .S`ee Be// 1). WoMr/), 441 U.S.
520, 545 (1979). This constitutional right is limited by valid penological objectives See O Lone v.
Er!ate tjj`})aba:{% 482 U.S. 342, 348 (1987) (“[L]imitations on the exercise of constitutional rights
arise both from the fact of incarceration and from valid penological objectives -- including
deterrence of crime, rehabilitation of prisoners, and institutional security.”). When alleged religious
interference stems from a prison policy, the Supreme Court has outlined four factors that are
relevant in determining the reasonableness of the regulation: (1) “there must be a valid, rational
connection between the prison regulation and the legitimate governmental interest”; (2) whether the

inmate has an “alternative means of exercising the right” at issue; (3) the burden that the

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accommodation would impose on prison resources; and (4) “the absence of ready alternatives.”
Tumer a Saf/e , 482 U.S. 78, 89-91 (1987).

To state a claim under RLUIPA, an institutionalized person must allege a “substantial
burden on [his] religious exercise.” 42 U.S.C. § 2000cc-1. Under RLUIPA, “[a] plaintiff-inmate
bears the burden to show that a prison institution’s policy or official practice has substantially
burdened the practice of that inmate’s religion.” WaJ/)ingtan v. Klem, 497 F.3d 272, 278 (3d Cir.
2007).1

When bringing a § 1983 claim, a plaintiff must allege that some person has deprived him of a
federal right, and that the person who caused the deprivation acted under color of state law. .S`ee
We.rt 1). Asz'm, 487 U.S. 42, 48 (1988). To establish individual liability under § 1983 a plaintiff must
show that the individual defendant was personally involved in the alleged constitutional Violations.
See Rode 1). De/larc§t)rete, 845 F.2d 1195, 1207 (3d Cir. 1988). The personal involvement requirement
has been extended to R.LUIPA claims. See l..oz)e/ace z/. Lee, 472 F.3d 174, 193 (4th Cir. 2006)
(dismissing R_LUIPA claim against assistant warden because warden, and not assistant,‘ issued
challenged policy); Cor/gy 1). Cz'g! ty'New Yor/é, 2017 WL 4357662 (S.D.N.Y. Sept. 28, 2017) (personal
involvement is necessary component of a valid RLUIPA claim); Ciemy>a 1/. ]one.t, 745 F. Supp. 2d
1171, 1200 (N.D. Okla. 2010); Goodz)z`ne a Swie,eaiawrkz', 594 F. Supp. 2d 1049, 1058 (W.D. Wis.
2009). Personal involvement can be established by showing that the defendant actually participated
in the alleged violation or had knowledge and acquiesced in the violation. Roa'e, 845 F.2d at 1207.

Plaintiff is required to prove personal involvement with “appropriate particularity.” Id.

 

l“The least-restrictive-means standard is exceptionally demanding, and it requires the government to
show that it lacks other means of achieving its desired goal without imposing a substantial burden
on the exercise of religion by the objecting party.” Holt 1). Habbr, _U.S._, 135 S.Ct. 853, 864
(2015) (internal quotation marks and alterations omitted).

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Christo cannot be held liable in his individual capacity under § 1983 or RLUIPA because
Plaintiff has not offered sufficient evidence for a reasonable jury to conclude that Christo was
personally involved in the deprivation of Plainan s rights to practice his religion. Christo was
assigned to the VCC in November 2015 and Plaintiff raised the claims against Christo on December
22, 2015, when he Eled the amended complaint, As a result, the time in question is limited to a one-
month period.

lt is undisputed that Christo and Plaintiff never met during this time. Plaintiff testified he
wrote to Christo but did not provide copies of the letters or provide a time-frame when he wrote to
Christo. Moreover, Plaintiff was very clear that he only named Christo as a defendant because he
was seeking class certification Christo’s afEdavit states that he had no contact with Plaintiff in
writing, in person, or by any other means. Even when construing the evidence in the light most
favorable to Plaintiff, no reasonable jury could Hnd that during the relevant time-frame Chi:isto
personally participated in the alleged violation of Plaintiff’ s right to exercise his religion under the
First Amendment or RLUIPA. Therefore, the Court will grant the motion for summary judgment
as to the claims raised against Christo.

4. Exhaustion of Administrative Remedies

The PLRA provides that “[n]o action shall be brought with respect to prison conditions
under section 1983 or any other F ederal law, by a prisoner conEned in any jail, prison, or other
correctional facility until such administrative remedies as are available are exhausted.” 42 U.S.C.

§ 1997e(a); see also Pon‘er 1). Nm.r/e, 534 U.S. 516, 532 (2002) (“[T]he PLRA’s exhaustion requirement
applies to all inmate suits about prison life, whether they involve general circumstances or particular
episodes, and whether they allege excessive force or some other wrong.”). Failure to exhaust
administrative remedies must be pled and proved by the defendant .S`ee Ra} 1). Ken‘er, 285 F.3d 287,

295 (3d Cir. 2002).

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Under § 1997e(a), “an inmate must exhaust [administrative remedies] irrespective of the
forms of relief sought and offered through administrative avenues.” Booth a C/)umer, 532 U.S. 731,
741 n.6 (2001). Under Woo¢_z'j?)rd 1). Ngo, 548 U.S. 81, 88 (2006), exhaustion means proper exhaustion,
that is, “a prisoner must complete the administrative review process in accordance with the
applicable procedural rules, including deadlines, as a precondition to bringing suit in federal court.”

Plaintiff testified that he filed one grievance regarding the _]une 23, 2015 incident with
Frederick, and was told that it was not grievable.3 The Court also considers Plaintiff’s April 17,
2017, filing wherein he indicates that his property was seized and destroyed due to the February
2017 uprising at VCC and that he lost nearly all of his paperwork, books, notes, exhibits, affidavits,
etc. pertaining to this case. (D.I. 33) Defendants submitted Dutton’s affidavit where he stated
Plaintiff had filed many grievances, but none in connection with the ]une 23, 2015 incident

As discussed above, it is Defendants’ burden to prove Plaintiff exhausted his administrative
remedies. The Court construes the evidence in the light most favorable to Plaintiff and finds
Defendants have not met their burden, as a reasonable factfinder could find exhaustion. Plaintiff
testified during his deposition that the grievance he submitted regarding the _june 23, 2015 incident
was found to be nongrievable. Defendants do not address how the VCC processes grievances that
are deemed nongrievable.4 Nor do they address the issue of Plaintist documents that were
confiscated as a result of the February 2017 hostage incident. Accordingly, summary judgment is

not appropriate, and Defendants’ motion on the issue will be denied.

 

3 The Court does not address the issue of exhaustion with regard to the claims raised against Christo
given that summary judgment will be granted in Christo’s favor on other grounds

4 lt is unknown if the VCC has a record of inmate grievances that are returned as nongrievable.

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VI. CONCLUSION

For the above reasons, the Court will: (1) deny Defendants’ motion for summary judgment
as to the excessive force claim and exhaustion claims and grant the motion as to the religion claims
(D.I. 30); (2) deny Plaintiff’s motion to compel (D.I. 39); (3) and grant Plaintiff s request for counsel

(D.I. 39, 40). The case will proceed on the excessive force claim against Frederick.

An appropriate Order will be entered.

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